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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


WAEL MUHAMMAD BAZZI,

                  Plaintiff,

         v.                                   Civil Action No. 19-cv-01940 (TNM)

ANDREA M. GACKI, in her official
capacity as Director of the U.S. Department
of the Treasury, Office of Foreign Assets
Control, and UNITED STATES
DEPARTMENT OF THE TREASURY,
OFFICE OF FOREIGN ASSETS
CONTROL,

                  Defendants.


COMBINED REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS OR, IN
 THE ALTERNATIVE, FOR SUMMARY JUDGEMENT AND MEMORANDUM IN
   OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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                                         INTRODUCTION

        Plaintiff Wael Muhammad Bazzi was designated a Specially Designated Global Terrorist

(“SDGT”) for acting for or on behalf of his similarly designated father, Muhammad Bazzi, a major

Hizballah financier who provided the terrorist organization millions of dollars. Rather than

specifically dispute the numerous instances of illicit collaboration between the two that the Office

of Foreign Assets Control (“OFAC”) identified, Bazzi argues that he received an inadequate

explanation as to why he was designated in violation of the Fifth Amendment’s Due Process clause

and the Administrative Procedure Act (“APA”).

        But Bazzi cannot assert a Due Process claim because he fails to identify any property or

presence in this country that would allow him to assert such a right, and his brief fails to cite a

single case showing otherwise. See Pl.’s Mem. of P. & A. at 10-12, ECF Nos. 13-1, 14 (“Br.”). He

also cites no authority showing that the APA requires anything beyond the unclassified or otherwise

not protected portions of the administrative record that he already has. See id. at 19-22. The Court

should therefore reject his claims out of hand.

        In any event, his claims fare no better on the merits. Bazzi’s arguments stem from the agency’s

use of classified information that—for obvious reasons—it did not provide him. But the D.C. Circuit

and the International Emergency Economic Powers Act (“IEEPA”) allow the reliance on such

information. And notwithstanding the use of that classified information, Defendants identified the

basis for his designation and supporting facts in a press release, including by identifying specific

companies and transactions reflecting Bazzi’s illicit collaboration, as well as a timeframe and a

location for such collaboration. Moreover, OFAC also published the basis for Bazzi’s designation

in the Federal Register, and provided him a redacted version of the administrative record

underlying his designation. Defendants provided Bazzi ample notice.


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        Such disclosures provided Bazzi broad opportunity to respond and contest facts supporting

his designation. Bazzi’s choice to effectively ignore the various instances of collaboration the

agency identified, and instead present broad and non-specific challenges to the agency’s authority

under IEEPA, lack merit. The Court should enter judgment for Defendants and deny Bazzi’s

motion for summary judgment.


                                          ARGUMENT

   I.      Bazzi Cannot Assert a Due Process Claim, and Even If He Could, Defendants
           Provided Him with More Notice Than was Due.

        Bazzi maintains that he has received only “conclusory allegations” supporting his

designation in violation of the right to adequate post-deprivation notice under the Due Process

Clause. Br. at 2; see also id. at 9-19. He requests that the Court “direct[] Defendants either to

disclose the redacted portions of the administrative record or to provide alternative means by which

Bazzi can understand the factual bases for his designation.” Br. at 10. But Bazzi lacks sufficient

connections to the United States to assert a Due Process violation, and in any event, his claim fails

on the merits.

   A. Bazzi Cannot Establish A Connection to the United States Warranting Due Process
      Protection, and His Argument Lacks Supporting Precedent.

        Defendants already explained how Bazzi, a foreign national without property in the United

States, cannot assert Due Process rights here. See Defs.’ Mem. of P. & A. at 10-12, ECF No. 12-

1 (“Defs.’ Opening Br.”). In response, Bazzi fails to cite a single case showing that he may do so,

and he does not allege that he has any physical presence or property in the United States. See Br.

at 10-12. His Fifth Amendment claim therefore fails.

        “The Supreme Court has long held that non-resident aliens who have insufficient contacts

with the United States are not entitled to Fifth Amendment protections,” Jifry v. FAA, 370 F.3d


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1174, 1182 (D.C. Cir. 2004) (collecting cases), and consistent with that precedent, the D.C. Circuit

has declined to extend the Due Process Clause to foreign terrorist organizations (“FTO”) “without

property or presence” in the sovereign territory of the United States, see, e.g., People’s Mojahedin

Org. of Iran v. U.S. Dep’t of State (“PMOI II”), 327 F.3d 1238, 1240–41 (D.C. Cir. 2003);

People’s Mojahedin Org. of Iran v. U.S. Dep’t of State (“PMOI I”), 182 F.3d 17, 22 (D.C. Cir.

1999) (“A foreign entity without property or presence in this country has no constitutional rights,

under the due process clause or otherwise.”). 1 These FTO cases “provide guidance” here, see Kadi

v. Geithner, 42 F. Supp. 3d 1, 25, 28 (D.D.C. 2012), and Bazzi’s Due Process claim fails under

this precedent because he resides in Belgium, see Am. Compl. ¶ 10, ECF No. 11, and he does not

allege to have any property in the U.S., see Br. at 11. 2

       In response, Bazzi asserts that the D.C. Circuit has not provided “any definitive ruling on

what constitutes ‘substantial connections’” allowing a foreign person to assert a Fifth Amendment




1
  Quoting United States v. Verdugo-Urquidez, 494 U.S. 259, 271 (1990), PMOI I went on to
explain that “[a]liens receive constitutional protections [only] when they have come within the
territory of the United States and developed substantial connections with this country.” 182 F.3d
at 22. Subsequently, Nat'l Council of Resistance of Iran v. U.S. Dep’t of State, read the word
“only” in Verdugo-Urquidez to “limit[] the application of prior precedent,” and that the case did
not establish whether individuals with connections to the U.S. but not “substantial” ones are
entitled to constitutional protections. 251 F.3d 192, 201-02 (D.C. Cir. 2001) (finding organizations
with “overt presence within” building in Washington, DC and a “claim[] [of] an interest in a small”
U.S. bank account could assert Due Process rights). Regardless, Bazzi cannot show any
connection here warranting the Due Process protection he seeks.
2
  In the background section of his brief, Bazzi states that “any assets subject to U.S. jurisdiction in
which Bazzi maintains an interest are blocked,” and that “U.S. persons are generally prohibited
from dealing with either” him or his companies. Br. at 6. To the extent he tries, he cannot rely on
these assertions here because they are not in his amended complaint, see Jo v. Dist. of Columbia,
582 F. Supp. 2d 51, 64 (D.D.C. 2008), and in any event, are merely a description of legal
consequences of his designation, 50 U.S.C. § 1702(a)(1)(B); Exec. Order No. 13224, § 2, 66 Fed.
Reg. 49079 (Sept. 23, 2001), and as such are insufficient to demonstrate any connection to this
country, see Williams v. Lew, 819 F.3d 466, 472 (D.C. Cir. 2016) (explaining that “conclusory
statements and legal conclusions are insufficient to state a plausible basis for standing”).
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claim. Br. at 10. But whatever the quantum of connections required for due process protections

to apply, Bazzi can hardly deny that the D.C. Circuit singularly requires as a preliminary step that

an entity have some connection, e.g., 32 Cty. Sovereignty Comm. v. U.S. Dep’t of State, 292 F.3d

797, 799 (D.C. Cir. 2002); accord Nat'l Council of Resistance of Iran v. U.S. Dep’t of State (“Nat’l

Council”), 251 F.3d 192, 202 (D.C. Cir. 2001) (finding “substantial connections”), and Bazzi can

claim neither. Cf. Kadi, 42 F. Supp. 3d at 28-29 (assuming constitutional protection where case

involved “arguably a factual dispute” over whether plaintiff had “sufficient connection” before

concluding due process requirements were satisfied); FBME Bank Ltd. v. Lew, 209 F. Supp. 3d

299, 327 (D.D.C. 2016) (discussing whether plaintiff’s allegations of property in the U.S. satisfied

“substantial connections” requirement).

       Without any supporting case law, Bazzi maintains that he can assert a Due Process claim,

arguing that he “has been effectively barred from financial institutions worldwide” in light of the

Global Terrorism Sanctions Regulations and Hizballah Financial Sanctions Regulations. Br. at

11. But such purported “universal consequences,” Br. at 11, are not found in his amended

complaint, and thus he cannot rely on them here. E.g., Jo v. Dist. of Columbia, 582 F. Supp. 2d

51, 64 (D.D.C. 2008) (“It is well-established in this district that a plaintiff cannot amend his

Complaint in an opposition to a defendant’s motion for summary judgment.”). In any event, Bazzi

nowhere alleges that any U.S. property is impacted, and the D.C. Circuit requires “property or

presence in this country,” 32 Cty., 292 F.3d at 799 (emphasis added). Such absence only

underscores his lack of connection to the United States. And Bazzi cannot create an exception by

arguing that the consequences of his actions have created a “dire” financial situation for him

generally. See Nat’l Council, 251 F.3d at 196 (describing impact of FTO designation, including




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“[p]erhaps most importantly,” forbidding persons within or subject to U.S. jurisdiction from

“‘knowingly providing material support or resources,’ to the” FTO).

       Because Bazzi lacks a connection to the United States triggering Fifth Amendment

protections, he cannot assert a Due Process claim. He wants the Court to gloss over this issue,

pointing to Joumaa v. Mnuchin, No. 17-cv-2780-TJK, 2019 WL 1559453 (D.D.C. Apr. 10, 2019),

appeal filed, No. 19-5166 (D.C. Cir. June 6, 2019), which concluded that it could assume

jurisdiction in order to deny a claim on the merits in light of Jifry. But Defendants already

explained why that decision should not control, see Defs.’ Opening Br. at 12 n.6, and though Bazzi

highlights that Fares v. Smith, 249 F. Supp. 3d 115, 122 (D.D.C. 2017), aff’d, 901 F.3d 315 (D.C.

Cir. 2018), similarly assumed standing before denying a claim on the merits, see Br. at 12, the

district court there also relied on Jifry, which did not did not address the Supreme Court’s

admonition against assuming jurisdiction, see Jifry, 370 F.3d at 1183, and the D.C. Circuit in Fares

did not address the issue. Bazzi’s Due Process claim fails here.

   B. Defendants Have Provided Bazzi Ample Notice, and Thus his Due Process Claim
      Fails on the Merits.

       Defendants previously explained how they satisfied any constitutional requirement

because they provided Bazzi a basis to understand his designation and an opportunity offer rebuttal

evidence and arguments. Defs.’ Opening Br. at 13 (citing Zevallos v. Obama, 10 F. Supp. 3d 111,

131 (D.D.C. 2014), aff’d, 793 F.3d 106 (D.C. Cir. 2015)). Bazzi claims that such a basis must be

accompanied by an “opportunity to make a meaningful response,” Br. at 13, but that is precisely

what he had here. The agency issued a press release on the day of his designation disclosing facts

underlying his designation, published the basis for his designation in the Federal Register, and

provided him the redacted administrative record underlying his designation. Defs.’ Opening Br.

at 6-8, 13-14. With this information, Bazzi has a clear path under OFAC’s regulations to “seek


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administrative reconsideration” of his designation or to assert that the circumstances no longer

apply. See 31 C.F.R. § 501.807.

       Rather than pursuing that opportunity, Bazzi apparently questions the Government’s ability

to rely upon undisclosed classified information, and asserts that he has not been provided “with

sufficient evidence and reasoning” underlying his designation in any event. Br. at 9. He is

mistaken.

   1. IEEPA Allows Defendants to Rely on Classified Information that is Not Disclosed to
      Plaintiff, and Courts Regularly Permit the Practice.

       Bazzi claims that the Government’s reliance on undisclosed classified information is

“presumptively unconstitutional,” and reserved for “the most extraordinary circumstances.” Br.

at 15 (citation omitted). This argument is contrary to the statute and binding D.C. Circuit case

law. IEEPA specifically contemplates ex parte and in camera use of classified information, see

50 U.S.C. § 1702(c), and the agency “need not disclose the classified information to be presented

in camera and ex parte to the court” under the Due Process Clause, Nat’l Council, 251 F.3d at

208-09; see also Holy Land Found. for Relief & Dev. v. Ashcroft, 333 F.3d 156, 164 (D.C. Cir.

2003) (stating that “‘due process require[s] the disclosure of only the unclassified portions of the

administrative record’”) (quoting PMOI II, 327 F.3d at 1242)). “[A]mple precedent” allows

agencies to “use certain sensitive information, without disclosing it, in proceedings imposing

targeted financial measures on persons and organizations.” FBME Bank Ltd. v. Lew, 125 F. Supp.

3d 109, 118–19 (D.D.C. 2015) (collecting cases); see also Defs.’ Opening Br. at 15-16 (providing

examples).    The inapposite Ninth Circuit case that Bazzi relies upon, Am.-Arab Anti-

Discrimination Comm. v. Reno, 70 F.3d 1045 (9th Cir. 1995), involved use of classified

information in summary proceedings to exclude long-time resident aliens and provides no reason

for this Court to depart from the normal course here. See Al Haramain Islamic Found., Inc. v. U.S.


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Dep’t of Treasury, 686 F.3d 965, 981 (9th Cir. 2012) (describing Am.-Arab Anti-Discrimination

Comm., 70 F.3d at 1052-54). Indeed, it is not even clear whether the case remains good law in the

Ninth Circuit. See id. at 982 & n.8 (questioning whether the passage on which Bazzi relies

“remains good law”). 3

       Similarly, Bazzi claims that the D.C. Circuit allows the use of undisclosed, classified

information only if there is no alternative means of disclosure, Br. at 16, and that the Government

must use another procedural safeguard in such situations—“sufficiently specific ‘unclassified

summaries’ that provide the ‘who,’ ‘what,’ ‘when,’ and ‘where’ of the allegations,” Br. at 17

(quoting Fares v. Smith, 901 F.3d 315, 319, 324 (D.C. Cir. 2018)). But Bazzi provides no case

holding that there must be no alternative means of disclosure to use classified information, 4 and



3
  Defendants already satisfied any “burden,” Br. at 15, to not disclose classified information to
Bazzi. See Certification of A.R. ¶ 4, ECF No. 10-1 (providing him, redacted as appropriate, “a
true, correct, and complete copy of the non-privileged documents that were directly or indirectly
considered . . . .”). Bazzi cites inapposite cases involving privilege disputes in civil discovery, see
In re Anthem, Inc. Data Breach Litig., 236 F. Supp. 3d 150 (D.D.C. 2017), or a Freedom of
Information Act claim, see Willis v. Nat’l Sec. Agency, No. 17-cv-2038-KBJ, 2019 WL 1924249
(D.D.C. Apr. 30, 2019). But this action is reviewed on the administrative record, where it “is far
from the norm to require . . . privilege logs.” FBME Bank Ltd. v. Lew, 209 F. Supp. 3d at 317;
Fares, 249 F. Supp. 3d at 129 n.3. Bazzi also cites Sulemane v. Mnuchin, No. 16-cv-1822-TJK,
2019 WL 77428, *4-*5 & n.8 (D.D.C. Jan. 2, 2019), presumably because that court ordered an
explanation for the applicability of the law enforcement privilege before concluding that it was
properly invoked. But Bazzi does not challenge that privilege, see Defs.’ Opening Br. at 17 n.10;
Br. at 16 n.2 (Bazzi does not “necessarily request[]” a privilege log), and to date no party has relied
upon that limited information here to further their arguments. Sulemane did not order such an
explanation with respect to classified information before ruling in the agency’s favor. See 2019
WL 77428, at *4-5.
4
  Bazzi’s string cite to support this assertion, see Br. at 16, undermines his claim. See Nat’l
Council, 251 F.3d at 208 (notice “need not disclose the classified information to be presented in
camera and ex parte to the court under the statute”); PMOI II, 327 F.3d at 1242 (rejecting argument
that opportunity to challenge was not meaningful, explaining that “due process required the
disclosure of only the unclassified portions of the administrative record”); Holy Land, 333 F.3d at
164 (similar); accord Fares, 901 F.3d at 324-26 (permitting reliance on unclassified summaries
where plaintiffs argued that defendants could not rely on undisclosed information in the
administrative record at all).
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the D.C. Circuit has not imposed the “procedural safeguard[]” that he describes. Br. at 17. To the

contrary, the D.C. Circuit in Jifry, for example, held that the Government satisfied the notice

requirements of due process by informing foreign national pilots that their airmen certificates had

been revoked based on TSA’s determination that they were a “security threat,” even though the

notice of that revocation “did not include the factual basis for” that determination, “which was

based on classified information,” and plaintiffs argued that “without knowledge of the specific

evidence on which TSA relied, they [were] unable to defend against the charge that they are

security risks.” 370 F.3d at 1178, 1184 (noting that D.C. Circuit “rejected the same argument”

that an agency is not permitted to rely on undisclosed classified information with respect to the

designations of FTOs in Nat’l Council, 251 F.3d at 208 and PMOI II, 327 F.3d at 1242-43). And

in Holy Land, the D.C. Circuit held that due process permitted the government, pursuant to IEEPA,

to rely on classified information submitted ex parte and in camera to support the designation of a

domestic entity as a SDGT, finding the argument “that due process prevents its designation based

upon classified information to which it has not had access is of no avail.” 333 F.3d at 164. 5




5
  Bazzi points (again) to Al Haramain Islamic Found., Inc., 686 F.3d at 987, where the Ninth
Circuit stated that it “appear[ed]” that the plaintiffs in Holy Land did not raise the issue of whether
due process requires a statement of reasons and the notice sufficiently stated the reasons for the
investigation. Al Haramain, 686 F.3d at 988. But Holy Land does not say as much, and Al
Haramain acknowledged that Holy Land (and National Council) “may suggest that a statement of
reasons is not required by due process,” before explaining that it was bound to follow a prior case’s
holding even if the D.C. Circuit cases were in conflict. 686 F.3d at 988.

        Also, Bazzi muses that a classified record “essential to upholding the action” may present
Due Process concerns. Br. at 14 (citing People's Mojahedin Org. of Iran v. U.S. Dep't of State
(“PMOI III”), 613 F.3d 220, 231 (D.C. Cir. 2010) (per curiam). But Bazzi has been provided
ample unclassified information that adequately supports his designation independent of any
classified information, see infra Part III, and in any event, binding D.C. Circuit precedent has
rejected due process challenges where administrative decisions relied on classified material, see
PMOI III, 613 F.3d at 231-32 & n.2 (Henderson, J., concurring).
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       Although Bazzi tries to root his requested “procedural safeguard[]” in Fares v. Smith, 901

F.3d 315 (D.C. Cir. 2018), Defendants have already explained how that Court imposed no such

requirement, see Defs.’ Opening Br. at 15 n.9. Further, Bazzi is wrong that any notice must take

a prescribed form, as Due Process “requires only that process which is due under the circumstances

of the case.” PMOI II, 327 F.3d at 1242 (emphasis added); see also, e.g., Al Haramain, 686 F.3d

at 983 (acknowledging that an unclassified summary may not always be possible). In short, while

“courts have recognized that unclassified summaries of classified information on which an agency

relied may be helpful to litigants, they are not required.” FBME Bank, 125 F. Supp. 3d at 119 n.2.

And such a summary would serve no utility here, as the notice Bazzi received more than satisfies

due process as explained below.

    2. Bazzi’s Complaints with the Extensive Notice Defendants Provided Do Not Establish
       a Due Process Violation.

       Even though the agency provided Bazzi the basis for his designation and supporting facts,

Bazzi insists that he has not been provided with sufficient evidence or reasoning for his

designation. But due process requires only that OFAC provide Bazzi with “a basis from which to

understand his designation, and thereby offer rebuttal arguments and evidence in response,”

Zevallos, 10 F. Supp. 3d at 131; see also Fares v. Smith, 249 F. Supp. 3d 115, 127 (D.D.C. 2017),

aff’d, 901 F.3d 315 (D.C. Cir. 2018). Defendants easily met that standard.

       A brief summary of the notice that Defendants provided refutes Bazzi’s assertion to the

contrary. On the day of his designation, the agency’s press release announced the basis for Bazzi’s

designation. See A.R. at 2 (“for acting for or on behalf of his father and Hizballah financier,

Mohammad Bazzi”). 6 OFAC subsequently confirmed that basis, both through a Federal Register


6
  Although not relevant here, OFAC re-designated Bazzi’s father in November 2019 under
Executive Order 13224, as amended by Executive Order 13886, 84 Fed. Reg. 48041 (Sept. 9,
2019), and the briefing schedule in his father’s lawsuit envisions that dispositive motions will be
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Notice, A.R. 15, and the administrative record that it provided him, A.R. 19. Moreover, the press

release explained the agency’s rationale, A.R. 5 (Mohammad Bazzi “has been able to conduct

business through” his son, Wael Bazzi); and provided numerous supporting facts, including by

specifying companies involved, id. (coordinated with father to change Global Trading Group NV’s

name and likely obscure father’s involvement); id. (likely established Voltra Transcor Energy

account in connection with father’s efforts to move money and circumvent sanctions); identifying

transactions involving the two, id. (“formed a petroleum company to maintain his father’s access

to the oil industry”); id. (helped father and Lebanon-based associate facilitate payments); id. (relied

upon to bid on Gambian government contracts); highlighting a timeframe (witting of father’s

involvement in illicit activity “[a]s of at least early 2018”); and disclosing a location, id. (“turned

to his son . . . to continue doing business in the Gambia”).

       Notwithstanding all of the above, Bazzi complains that the Government did not

“adequately identify those activities” and reflects “nothing more than caveated and conclusory

characterizations of activities.” Br. at 17. But the disclosures provide Bazzi more than sufficient

opportunity to challenge his designation beyond simply “a general” or “blanket denials.” Id. at

18. For example, he could try to show—through an audit or otherwise—that he did not establish

an account for Voltra Transcor Energy in connection with his father’s attempt to move money and

circumvent sanctions. A.R. 5-6. He could try to show that he did not form a petroleum company

to maintain his father’s access to the oil industry. See id. at 5. 7 Or he could attempt to show that



ripe for decision in April 2020. See Min. Order, Bazzi v. Gacki, 1:19-cv-484-RDM (D.D.C. Dec.
12, 2019).
7
 Bazzi also questions the relevance of OFAC’s finding that Bazzi’s father planned to submit his
son to fill a Lebanese Consular position because he could exert his influence over him. Br. at 18.
But Bazzi declined to challenge the sufficiency of the evidence underlying his designation. See
generally Am. Compl.; Br. at 7. In any event, he does not dispute that his father planned to exert
                                                  10
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any Gambian government contracts with which he was involved had no connection to his father.

Id. at 5.

        Nothing beyond Defendants’ disclosures was needed to provide Bazzi a basis from which

to understand his designation, see Zevallos, 10 F. Supp. 3d at 131, and he is not entitled to dictate

the specifics of his notice, see Jifry, 370 F.3d at 1184; Fares, 249 F. Supp. 3d at 127-28 (rejecting

argument that plaintiffs needed “more specific information regarding the transactions that OFAC

believes were used to facilitate money laundering”); Kiareldeen v. Ashcroft, 273 F.3d 542, 548 (3d

Cir. 2001) (“summaries were not highly fact-specific [ to] ensur[e] that neither . . . sources nor

national security [are] compromised”). Bazzi’s notice was not “too conclusory.” Joumaa v.

Mnuchin, No. 17-cv-2780-TJK, 2019 WL 1559453, at *10 (D.D.C. Apr. 10, 2019) (rejecting

similar argument where, as here, notice provided details “about his alleged [illicit] activities,”

including “entities,” “types” of support, “time frame[], and location[] involved” and his

“associations with [an]other” blocked person). 8



his influence in this manner, see Br. at 18, and APA review does not require the Court to evaluate
each discrete piece of evidence in isolation, but rather whether “[a]ll this evidence together
provides adequate basis.” Zevallos, 793 F.3d at 114. Indeed, the national security and foreign
policy implications of OFAC’s designations only confirm the need to avoid such piecemeal
review. Cf. Holder v. Humanitarian Law Project, 561 U.S. 1, 34-35 (2010) (“[N]ational security
and foreign policy concerns arise in connection with efforts to confront evolving threats in an area
where information can be difficult to obtain and the impact of certain conduct difficult to assess. .
. . In this context, conclusions must often be based on informed judgment rather than concrete
evidence, and that reality affects what we may reasonably insist on from the Government.”).
8
  Bazzi references the length of the unclassified summaries in Fares, Br. at 19, but the provision
of summaries to the multiple plaintiffs in that case in no way casts doubt on the constitutionality
of the notice here. See Morrissey v. Brewer, 408 U.S. 471, 481 (1972) (“[D]ue process is flexible
and calls for such procedural protections as the particular situation demands.”); see also
Certification of A.R. ¶ 4 (certifying that Bazzi received, redacted as appropriate, “a true, correct,
and complete copy of the non-privileged documents that were directly or indirectly considered . .
. .”). Moreover, Fares involved a designation under the Foreign Narcotics Kingpin Designation
Act that relied on law enforcement sensitive information, 901 F.3d at 320, and disclosure of the
classified information underlying the designation here would harm the national security of the
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         And despite his repeated references, this case bears no resemblance to the out-of-circuit

decisions in KindHearts for Charitable Humanitarian Development Inc. v. Geithner, 647 F. Supp.

2d 857 (N.D. Ohio 2009), and Al Haramain. As an initial matter, those cases—unlike this one—

involved domestic entities, and thus implicated due process protections that do not apply here. See

Al Haramain, 686 F.3d at 979; KindHearts, 647 F. Supp. 2d at 864. In any event, KindHearts

concluded that the summaries there “provided no explanation of the specific charges [OFAC] was

considering against KindHearts or why it thought the evidence supported a potential designation,”

and left the petitioner “largely uninformed about the basis for the government’s actions,”

KindHearts, 647 F. Supp. 2d at 868, 904; Zevallos, 10 F. Supp. 3d at 130-31 (distinguishing

KindHeats); see also Kadi, 42 F. Supp. 3d at 29 n.16 (distinguishing KindHearts, noting that the

notice there included listing designation criteria and “numerous delays, failures to respond, and

misplacing of plaintiff’s submissions without any further explanation”). Similarly, Al Haramain

involved a “significantly untimely and incomplete notice” that provided “only one of three reasons

for [the agency’s] investigation and designation.” 686 F.3d at 986. Bazzi is thus “unlike the

plaintiffs in Al Haramain and KindHearts, who were left in the dark as to the reasons for their

designations.” Fares, 249 F. Supp. 3d at 127.

         In sum, even if Bazzi could assert a Due Process claim (and he cannot), that claim fails on

the merits.

   II.        Bazzi Confirms that his APA Claim Lacks Any Statutory Foundation and is
              Without Precedent.

         Bazzi also tries to assert his Due Process claim under the APA, arguing that he “is

challenging the adequacy of notice under the broader due process requirements imposed on OFAC


United States, see id. at 324 (“Forcing the executive branch to disclose information that it has
validly classified would compel a breach in the security which that branch is charged to protect.”)
(quotation marks and citations omitted).
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under the APA.” Br. at 22. According to Bazzi, “traditional concepts of due process are

incorporated into administrative law,” and OFAC’s “lack of procedural safeguards and regulations

in the designation process” under the APA mean that “the requirements of due process apply.” Br.

at 20-21.

       But Bazzi has no Due Process rights, see supra Part I, and the APA does not independently

confer constitutional rights to individuals who otherwise lack such protection. Rather, it allows

those with constitutional rights to argue that an action is unlawful by alleging that those rights

were violated by an agency’s action. Bazzi’s cited cases indicate as much. See, e.g., Al Haramain

Islamic Found., Inc. v. U.S. Dep’t of Treasury, 585 F. Supp. 2d 1233, 1243, 1253-54 (D. Or. 2008)

(domestic entity); Howmet Corp. v. EPA, 656 F. Supp. 2d 167, 169 (D.D.C. 2009) (same), aff'd

sub nom. Howmet Corp. v. EPA, 614 F.3d 544 (D.C. Cir. 2010); Hill v. U.S. Parole Comm'n, No.

CV 16-1476 (JEB), 2017 WL 2414446, at *1 (D.D.C. June 2, 2017) (prisoner seeking parole from

U.S. Parole Commission). Bazzi fails to cite a single case where the APA conferred constitutional

rights to a litigant who otherwise lacks such rights.

       Instead, Bazzi cites a number of cases and asserts that foreign persons or entities have

established standing and can sue under the APA. See Br. at 19-20. But that confuses the issue,

and the cases that he cites are plainly not relevant to the question of whether the APA provides

him constitutional protections that he otherwise lacks. See Disconto Gesellschaft v. Umbreit, 208

U.S. 570, 578-80 (1908) (state court did not violate due process where exercised comity in a way

that declined to favor foreign creditor over local creditor); Cardenas v. Smith, 733 F.2d 909, 913,

915-17 (D.C. Cir. 1984) (concluding that plaintiff “satisfied the Article III injury in fact

requirement” but offering “no opinion” as to whether she is an “intended beneficiar[y] of the

relevant constitutional guarantees” who can establish standing); Constructores Civiles de



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Centroamerica, S. A. (CONCICA) v. Hannah, 459 F.2d 1183, 1191 (D.C. Cir. 1972) (concluding

that plaintiff, “despite its status as a non-resident alien corporation, has standing to maintain suit”);

Silva v. Bell, 605 F.2d 978, 985 & n.12 (7th Cir. 1979) (explaining that class had Article III

standing where some class members were in the United States, and striking district court’s due

process holding as “unnecessary” in light of its holding that the policy violated the Immigration

and Nationality Act); FBME Bank Ltd., 209 F. Supp. 3d at 326 (concluding that foreign entity

plaintiff “likely does not” enjoy due process right, but even if it did, it was “not entitled to any

additional procedural protections other than those it was provided during the rulemaking process

as delineated by” statute).

        Regardless of what other claims Bazzi may be able to assert under the APA, in order to

press a claim for inadequate notice under the APA, he must show that the notice he received

violates a violation of his legal rights. See 5 U.S.C. § 702 (“A person suffering legal wrong

because of agency action, or adversely affected or aggrieved by agency action within the meaning

of a relevant statute, is entitled to judicial review thereof.”) (emphases added). Although he tries

to rely on alleged Due Process rights to establish his APA claim, see Br. at 22, he cannot do so

because he has no such rights and, even if he did, they were satisfied by the notice that he received.

See supra Part I. His claim fails even if the Court were to construe his claim as asserting an

entitlement to notice under the APA alone or otherwise not implicating Due Process.

        Unable to show an entitlement to anything beyond the administrative record, see Defs.’

Opening Br. at 17, Bazzi cannot establish that the notice he received violates the APA. Whatever

level of notice might be required by the APA was plainly satisfied here in light of (i) the April 24,

2019 press release, A.R. 1-7, (ii) the May 16, 2019 Federal Register notice, A.R. 15-16, and (iii)

the redacted administrative record. See supra Part I. The adequacy of this notice is underscored



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by Bazzi’s attempt to distinguish Sulemane v. Mnuchin, which he notes involved 5 U.S.C. § 555(e)

because the designee there, unlike him, submitted a delisting petition. Br. at 22. This only

confirms Bazzi cannot avail himself of that “notice provision” in the APA, Sulemane v. Mnuchin,

No. 16-cv-1822-TJK, 2019 WL 77428, at *7 (D.D.C. Jan. 2, 2019), and his argument lacks any

other statutory provision entitling him to anything beyond what he has already received.

          Bazzi’s APA claim fails.

   III.      Bazzi Cannot Show Entitlement to Relief Because Ample Evidence Supports His
             Designation as a SDGT.

          Because ample evidence supports Bazzi’s designation, and Bazzi did not even

acknowledge, let alone specifically dispute, a number of instances that OFAC identified where he

illicitly collaborated with his father, Defendants previously explained that even if there were some

error with the notice that he received (and there is not), any such error would be harmless. See

Defs.’ Opening Br. at 18 (citing Al Haramain, 686 F.3d at 990).

          Bazzi argues that Al Haramain is inapposite because plaintiffs there challenged their

designation, whereas he does not. Br. at 23. But that counsels in favor of applying the harmless

error rule here because his designation should stand notwithstanding the Court’s findings regarding

the notice received. Moreover, “OFAC has provided ample opportunity” for him to “present

rebuttal evidence and to thereby supplement the administrative record,” Fares, 249 F. Supp. 3d at

125, and though he has failed to do so, he “remains free now to continue contesting his designation

by filing new delisting requests, meaning that he can make any new arguments that occur to him.”

Joumaa, 2019 WL 1559453, at *11 n.15 (quoting Zevallos, 793 F.3d at 117); see also, e.g., id. at

*3 (explaining that plaintiff’s petition for delisting “led to a lengthy dialogue with OFAC” and he

“submitted information about his relationships with 55 individuals and 95 entities on the SDN list”

and “extensive documentation”). Thus, in the event the Court concludes that Plaintiff received


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adequate notice, as it should, Plaintiff may still seek reconsideration of OFAC’s substantive

decision to designate him.

       Bazzi also asserts that Defendants made a “concession” that “confirms the inadequacy of

the notice” because “they acknowledge that they are critically relying on undisclosed classified

material.” Br. at 23 (citations omitted). Not so. Defendants plainly stated that the “unclassified

administrative record makes clear” that ample evidence supports his designation. Defs.’ Opening

Br. at 18 (emphasis added); cf. Islamic Am. Relief Agency v. Gonzales, 477 F.3d 728, 734 (D.C.

Cir. 2007) (“We acknowledge that the unclassified record evidence is not overwhelming, but we

reiterate that our review—in an area at the intersection of national security, foreign policy, and

administrative law—is extremely deferential.”). That alone provides the Court with enough to

reject Bazzi’s Due Process claim. See People’s Mojahedin Org. of Iran v. U.S. Dep't of State

(“PMOI III”), 613 F.3d 220, 230-31 (D.C. Cir. 2010) (per curiam) (determining that providing

FTO unclassified portions of record satisfies due process); Chai v. U.S. Dep’t of State, 466 F.3d

125, 129 (D.C. Cir. 2006) (declining to resolve due process claim because “we can uphold the

designations based solely upon the unclassified portion of the administrative record”). The fact

that “the Court’s ex parte, in camera review of the classified record will confirm” that ample

evidence supports Bazzi’s designation, Defs.’ Opening Br. at 18, is hardly surprising, and in no

way a concession of constitutional error. And in any event, the D.C. Circuit has rejected due

process challenges where administrative decisions relied on classified material, see PMOI III, 613

F.3d at 231-32 & n.2 (Henderson, J., concurring), including when the Government relied

exclusively on such information as the factual basis for its decision, see Jifry, 370 F.3d at 1184.

       No error occurred here, but even if the Court concluded otherwise, it would be harmless

and therefore insufficient to warrant the relief Bazzi seeks.



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                                    CONCLUSION

      The Court should enter judgment for Defendants and deny Bazzi’s motion for summary

judgment.




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Dated January 7, 2020                    Respectfully submitted,

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